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                       UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                            Civil Action No. 3:20-CV-215



JIM BOGNET; DONALD K. MILLER;
DEBRA MILLER; ALAN CLARK; AND
JENNIFER CLARK

              Plaintiffs,

     v.

KATHY BOOCKVAR, in her capacity as
Secretary of the Commonwealth of
Pennsylvania, ADAMS COUNTY BOARD
OF ELECTIONS, ALLEGHENY COUNTY
BOARD OF ELECTIONS, ARMSTRONG
COUNTY BOARD OF ELECTIONS,
BEAVER COUNTY BOARD OF
ELECTIONS, BEDFORD COUNTY BOARD
OF ELECTIONS, BERKS COUNTY BOARD
                                             PLAINTIFFS’ MOTION FOR AN
OF ELECTIONS, BLAIR COUNTY BOARD
                                             IMMEDIATE         TEMPORARY
OF ELECTIONS, BRADFORD COUNTY
                                             RESTRAINING  ORDER   AND   A
BOARD OF ELECTIONS, BUCKS COUNTY
                                             PRELIMINARY INJUNCTION AND
BOARD OF ELECTIONS, BUTLER
                                             EXPEDITED HEARING AS SOON AS
COUNTY BOARD OF ELECTIONS,
                                             PRACTICABLE
CAMBRIA COUNTY BOARD OF
ELECTIONS, CAMERON COUNTY
BOARD OF ELECTIONS, CARBON
COUNTY BOARD OF ELECTIONS,
CENTRE COUNTY BOARD OF
ELECTIONS, CHESTER COUNTY BOARD
OF ELECTIONS, CLARION COUNTY
BOARD OF ELECTIONS, CLEARFIELD
COUNTY BOARD OF ELECTIONS,
CLINTON COUNTY BOARD OF
ELECTIONS, COLUMBIA COUNTY
BOARD OF ELECTIONS, CRAWFORD
COUNTY BOARD OF ELECTIONS,
CUMBERLAND COUNTY BOARD OF
ELECTIONS, DAUPHIN COUNTY BOARD
OF ELECTIONS, DELAWARE COUNTY
BOARD OF ELECTIONS, ELK COUNTY
BOARD OF ELECTIONS, ERIE COUNTY


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BOARD OF ELECTIONS, FAYETTE
COUNTY BOARD OF ELECTIONS,
FOREST COUNTY BOARD OF
ELECTIONS, FRANKLIN COUNTY
BOARD OF ELECTIONS, FULTON
COUNTY BOARD OF ELECTIONS,
GREENE COUNTY BOARD OF
ELECTIONS, HUNTINGDON COUNTY
BOARD OF ELECTIONS, INDIANA
COUNTY BOARD OF ELECTIONS,
JEFFERSON COUNTY BOARD OF
ELECTIONS, JUNIATA COUNTY BOARD
OF ELECTIONS, LACKAWANNA
COUNTY BOARD OF ELECTIONS,
LANCASTER COUNTY BOARD OF
ELECTIONS, LAWRENCE COUNTY
BOARD OF ELECTIONS, LEBANON
COUNTY BOARD OF ELECTIONS,
LEHIGH COUNTY BOARD OF
ELECTIONS, LUZERNE COUNTY BOARD
OF ELECTIONS, LYCOMING COUNTY
BOARD OF ELECTIONS, MCKEAN
COUNTY BOARD OF ELECTIONS,
MERCER COUNTY BOARD OF
ELECTIONS, MIFFLIN COUNTY BOARD
OF ELECTIONS, MONROE COUNTY
BOARD OF ELECTIONS, MONTGOMERY
COUNTY BOARD OF ELECTIONS,
MONTOUR COUNTY BOARD OF
ELECTIONS, NORTHAMPTON COUNTY
BOARD OF ELECTIONS,
NORTHUMBERLAND COUNTY BOARD
OF ELECTIONS, PERRY COUNTY BOARD
OF ELECTIONS, PHILADELPHIA
COUNTY BOARD OF ELECTIONS, PIKE
COUNTY BOARD OF ELECTIONS,
POTTER COUNTY BOARD OF
ELECTIONS, SCHUYLKILL COUNTY
BOARD OF ELECTIONS, SNYDER
COUNTY BOARD OF ELECTIONS,
SOMERSET COUNTY BOARD OF
ELECTIONS, SULLIVAN COUNTY
BOARD OF ELECTIONS, SUSQUEHANNA
COUNTY BOARD OF ELECTIONS, TIOGA
COUNTY BOARD OF ELECTIONS, UNION
COUNTY BOARD OF ELECTIONS,



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VENANGO COUNTY BOARD OF
ELECTIONS, WARREN COUNTY BOARD
OF ELECTIONS, WASHINGTON COUNTY
BOARD OF ELECTIONS, WAYNE
COUNTY BOARD OF ELECTIONS,
WESTMORELAND COUNTY BOARD OF
ELECTIONS, WYOMING COUNTY
BOARD OF ELECTIONS, AND YORK
COUNTY BOARD OF ELECTIONS

               Defendants.


       For the reasons set forth in the accompanying Brief, Plaintiffs Jim Bognet, Donald K.

Miller, Debra Miller, Alan Clark, and Jennifer Clark, respectfully request that this Court enter an

immediate temporary restraining order to restrain the Secretary of the Commonwealth Kathy

Boockvar and the 67 County Boards of Elections (collectively, “Defendants”) from following an

unconstitutional policy announced by the Pennsylvania Supreme Court in a recent decision.

Plaintiffs also respectfully request, given the exigent circumstances presented by the impending

election in Pennsylvania, that this Court schedule an expedited hearing and issue a preliminary

injunction as soon as practicable. Attached for the Court’s convenience is a copy of the stay

opposition filed by Secretary Boockvar in the U.S. Supreme Court in a case raising issues similar

to those at issue here. See Resp. in Opp. To Emergency App. For Stay, Scarnati, et al., v. Boockvar,

et al., No. 20A53 (U.S. 2020) (attached hereto as Exhibit 1).

       Plaintiffs’ counsel provided Defendants notice of the filing of their complaint by emailing

today a copy of that complaint to Defendants’ counsel listed in the Certificate of Service with the

exception of Butler County for whom we will mail a copy of the complaint. Plaintiffs’ counsel

also informed Defendants’ counsel in that notice that they planned on filing a motion for a

temporary restraining order and preliminary injunction expeditiously. As of this filing, none of the

counsel contacted have consented to the relief Plaintiffs seek. See Decl. of Nicole J. Moss (attached



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hereto as Exhibit 2). Immediately prior to filing this motion with the Court, Plaintiffs provided

additional notice of this motion to Defendants by emailing the motion and accompanying brief to

Defendants’ counsel with the exception of Butler County for whom we will mail a copy of the

motion and accompanying brief.

 Dated: October 22, 2020                     Respectfully submitted,

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        *Pro hac vice application
        forthcoming                          Attorneys for Plaintiffs




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd Day of October, 2020, I caused the foregoing document

to be filed electronically with the Clerk of the Court through the CM/ECF System for filing and

served on counsel registered to receive CM/ECF notifications in this case. I also caused the

foregoing document to be e-mailed to the following counsel for Defendants at the email address

identified below and if no such email address is identified to be mailed, via First Class mail, to

the mailing addresses identified below:

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                                  (See above for address)

                                  Sean R. Keegan
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Defendant
FOREST COUNTY BOARD OF            Timothy R. Bevevino
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FULTON COUNTY BOARD OF            James M. Stein
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GREENE COUNTY BOARD OF            Robert Eugene Grimm
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                                  Waynesburg, PA 15370
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                                  Sean R. Keegan
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Defendant
INDIANA COUNTY BOARD OF           Matthew Budash
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                                  Elizabeth A. Dupuis
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                                  Molly E. Meacham
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                                  Sean R. Keegan
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                                  (See above for address)

                                  Molly E. Meacham
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Defendant
LEBANON COUNTY BOARD OF           David R. Warner, Jr.
ELECTIONS                         Lebanon County Solicitor
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                                  Sean R. Keegan
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                                  Steven B. Silverman
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Defendant
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Defendant

LUZERNE COUNTY BOARD OF           Romilda Crocarno
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LYCOMING COUNTY BOARD OF          Joseph D. Smith
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MCKEAN COUNTY BOARD OF            Anthony V. Clarke
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Defendant


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MERCER COUNTY BOARD OF            William J. Madden
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MIFFLIN COUNTY BOARD OF           Steve S. Snook
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Defendant
MONROE COUNTY BOARD OF            John B. Dunn
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                                  Gerard Joseph Geiger
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Defendant

MONTGOMERY COUNTY BOARD           Mark A. Aronchick
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                                  Michele D. Hangley
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                                  Robert Wiygul
                                  (See above for address)

Defendant
MONTOUR COUNTY BOARD OF           Michael P. Dennehy
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Defendant
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                                  Sean R. Keegan
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Defendant
PERRY COUNTY BOARD OF             William R. Bunt
ELECTIONS                         Perry County Solicitor
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                                  Frank J. Lavery , Jr.
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Defendant
PHILADELPHIA COUNTY BOARD         Marcel S. Pratt
OF ELECTIONS                      Philadelphia County Solictor
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PIKE COUNTY BOARD OF              Christian E. Weed
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                                  cweed@kfblawoffice.com

                                  Gerard Joseph Geiger
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Defendant

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Defendant
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Defendant
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                                  Sean R. Keegan
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Defendant
WARREN COUNTY BOARD OF            Nathaniel Justus Schmidt
ELECTIONS                         Schmidt Law Firm

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                                   /s/ Bradley A. King
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